     Case 4:19-cr-00341      Document 107       Filed on 12/31/20 in TXSD       Page 1 of 1




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA,

         Plaintiff,                                 CASE NO. 19-cr-00341
v.

JOSE M. GONZALEZ-TESTINO,

      Defendant.
______________________________//

ORDER GRANTING DEFENDANT JOSE M. GONZALEZ-TESTINO’S UNOPPOSED
MOTION FOR LEAVE TO FILE UNDER SEAL AGREED MOTION FOR CHANGE OF
                     CONDITIONS OF RELEASE

         THIS CAUSE, having come before the Court and the Court having reviewed Defendant

Jose M. Gonzalez-Testino’s unopposed motion for leave to file under seal Agreed Motion for

Change of Conditions of Release and having been otherwise fully advised in this matter, and there

being no opposition, it is hereby,

         ORDERED and ADJUDGED that said Motion is hereby GRANTED. The Clerk is ordered

to seal Defendant Jose Manuel Gonzalez-Testino’s Agreed Motion for Change of Conditions of

Release.

         Signed at Houston, Texas on December 31, 2020.



                                              __________________________________
                                            _________________________________________
                                             RAY H. MILLER
                                            GRAY
                                              NIOR UNITED STATES DISTRICT JUDGE
                                            SENIOR                           JUD
cc: Counsel of Record




{M1786588.1}
